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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 19-1341V
                                      Filed: August 17, 2020
                                          UNPUBLISHED

                                                                    Special Master Horner
    PHILLIP SHAAK,

                         Petitioner,                                Order Concluding Proceedings;
    v.                                                              Vaccine Rule 21(a)
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Jordan P. Wartman, Handler, Henning & Rosenberg, LLC, Harrisburg, PA, for petitioner.
Traci R. Patton, U.S. Department of Justice, Washington, DC, for respondent.

                             ORDER CONCLUDING PROCEEDINGS1

       On September 3, 2019, petitioner filed a petition under the National Childhood
Vaccine Injury Act, 42 U.S.C. § 300aa-10-34 (2012), alleging that petitioner suffered
severe pain, weakness, and numbness in his upper left arm and fingers as a result from
his receipt of the influenza (“flu”) vaccination on October 14, 2016. (ECF No. 1.) This
case was originally assigned to the Special Processing Unit (“SPU”). (ECF No. 21.)
However, this case was reassigned to my docket on March 2, 2020. (ECF No. 24.)

       On June 16, 2020, a status conference was held, where I discussed the case
with the parties and ordered petitioner to file additional records and materials. (ECF No.
37.) On August 17, 2020, petitioner filed a Notice of Voluntary Dismissal. (ECF No.
38.)




1 Because this decision contains a reasoned explanation for the special master’s action in this case, it will
be posted on the United States Court of Federal Claims’ website in accordance with the E-Government
Act of 2002. See 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information the disclosure of which would constitute an unwarranted invasion of privacy.
If the special master, upon review, agrees that the identified material fits within this definition, it will be
redacted from public access.
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      Accordingly, pursuant to Vaccine Rule 21(a), this case is hereby dismissed
without prejudice. The Clerk of the Court is hereby instructed that a judgment shall
not enter in the instant case pursuant to Vaccine Rule 21(a).

IT IS SO ORDERED.

                                              s/Daniel T. Horner
                                              Daniel T. Horner
                                              Special Master




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